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EXHIBIT B

 

 

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case Numver: 2011-c1-15735 2°"°“5”5 Si“’°°‘
5231 BLANco LLc E¥AL `
vs. et THE DlSTRICT cotter
_ 225ih JuotclAL DlSTthT
Mto-cENTuRY instituch coMPANY oF TEXAS x , BE)<AR cOUNrY, T e
(Noio; Atteched document may contain addi|iona| iiilgants}. _ ClTATION 4
. , _ \U
"THE sTATE ot= 'rExAs" t Q<g§# <\
DlRECTED TOZ MiD-CENTURY INSURANCE COMPANY DBA MiD~CENTURY iNSURANCE )
COMPAN\( OF TEXAS (`)\J
BY SERVING iTS REG|STERED AGENT CHANDRA SPERRY
15760 E.ONG ViSTA DR
AUST!N TX 78728- 3822

"You have been eued. You may employ en atiomey. if you or yourattorney do not fite a written answer with the clerk who issued this citation by
10:00 a.m. on the Niondey next loi|owing fha expiration of twenty days after you were served this CtTATiON and ORiGlN/-\i. PET!T|ON , a default
iudemenl may be taken against you.“ eaid olTA'noN with celozrott PE'rmoN was mae on the 22nd day of August, 2011

iSSUED UNDER MY HAND AND SEAL OF SA|D COURT ON THES 29TH DAY OF Augusl A.D., 201}'.

Donna Kay MEKinney
Bexzu' County District Clerk
101 W. Nueva, Suii:e 217
San Antonie, Texas 78205

SHANNON E LOYD
ATTORNEY FOR PLAINT|FF
12703 SPECTRUM DR 201
SAN AN'i`ON|O. T)( 78249-34{}0

 

By: Ud§'a'r §czr‘cia, Deputy

6231 BLANCD LLC ET AL ‘ " Cese Numbar': 2317-01~15735
Of||cers Retum Cour‘t:226th Judtciat Distr"|ct Court

VG
HID-CENTURY IN$URANCE COMFANY DF TE)(AS

flame to hand On the 29th day of August 2017. A. D., at 2. 42 OGEOGK P. M. and EXECUTED (NOT EXEGU`\ ED) by CERiiFiED MAIL on the
day of __P__~__ 20___€13\,' deilvertng !0' al 15700 LONG VISTA DR

AUSTIN TX 78728- 3822 a true copy of this Gitation upon which t endorsed that date of delivery, together with the accompanying copy of the
CHAIION with ORiCB|NAL PETiTiON

 

Cause of failure to execute this Ciiation is

 

533 e e tow

Donna Kay MSKinney

Clerlc of the District Court:s of
Bexar County, TX

By : Td;q`af §am'a, Deputy

GRIGINAL (DKBB$}

 

 

 

Case 5:17-0\/- 00971- DAE Document 1- 4 Filed 09/;9/17 Page 3 0f/18

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Case Number: 2017-€|-15735 29"“"573“ meet
5231 BLANCO LLC ET AL
Vs‘ |N Ti-|E DtSTRiCT COURT
. 225th JUDIC|AL D|STR|CT
N|iD-CEN?URY tNSURANCE COMPANY OF TEXAS _‘ _ _ BEXAR COUNTY
(Note: Attoched document may contain ad(miono| liltgants), CITA'¥'|ON
"'t`HE STATE OF TEXAS" Q`g/w\‘ `\
DtREC¥ED TO: tnto-oEnreRY tnsuRANcE ooMPANY oeA Mlo-CEN?URY insunANoE
COMPANY OF TEXAS C`)\J\‘
BY SERV|NG tTS REG!STERED AGENT CHANDRA SPERRY
15700 LONG ViSTA DR
AUSTIN TX 76728- 3822

"You have been sued. You may employ an attorneyl lt you or your attorney do not tile a written answer with the oieti< who issued this citation by
10:00 e.m. on the htonday next following the expiration oi twenty days etter you were served this CtTAT|ON end ORiG|NAL PET|T|ON , a default
judgment may he taken against you." Satd C|TATiON with ORJGINAL PETiTtON was ttied on the 2an day of August, 201?.

iSSUED UNDER NtY HAND AND SEAL OF SAiD COURT ON TH|S 29TH DAY OF August A.D., 2017.

 

anNnoN E tovo Donne Kay MSKinney
ATTORNEY FOR PLAiNTiFF Bexa.r Count:_y Distriot Cterk
12703 SPECTRUM DR 201 101 W, Nuova, Suite 217

SAN ANTONFO, TX 78249-3400 San Antonio, Texas 78205

 

By : Td:gclr §cl?‘cia, Deputy

 

5231 HLANCO LLC ET AL ‘ ' Case Number: 291T-CI-15735
ve O'mcers Retum Court:225ttt Judtctal D'istr"tct Court

-f“lID-CENTURY INSURANCE CDHPANY GF TEXAS

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. day of 20 .by dettvering to'. - at 15706 LONG VlSTA DR

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Ceuse of tetiure to execute this Cttetion is

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Donna Kay MEKinney

Ctertc of the Dt'strict Courte of
Bexar County, 'I`X

By:§Ed§m'§‘arcia, Doput:y

ORIG!ltAL tDt(BB$)

 

Case 5:17-cv-O
0971-DAE Document 1-4 Filed 09/29/17 Page 4 of 18

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Accep‘ted By'. i<rystei Gonzatez

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settlements
§
- v. § 225 motorist oisTslc'r
l
Mlc-csn'rortr INSURANCE coMPANY §

OF TEXAS § BEXAR COUNTY, TEXA.S
I’LAIN'I`IFFS’ ORIGINAL I’E'I`ITI()N
T 0 THE HONORABLE JUDGE OF SAID COURT'. l
COMES NOW Plsintiffs, 5231 BLANCG, LLC, SANTA FE APARTMBNTS, end files
this Orlginel Pctition against Mll)~CENTUR.Y lNSURANCB COMPANY OF TEXAS,

hereinafter referred to ss (“Mid~Century”) and in support tliercof, would_show as follows'.

l.
l)ISCOVERY CON'I`ROL PLAN LEVEL
Plsintiffs intend for discovery to be conducted under Level 3 of Rnie 190 of the Texss
Rules of Civii Proccdure. This case involves complex issues and will require extensive discovery

Thereforc, I’lalntiffs will ask the Conrt to order that discovery be conducted in accordance With n

' discovery control plan tailored to the particular circumstances of this suit.

PARTIss rails soto/lon
Plaintit?fs erc doing business in Bexar Coonty, Tcxas.
Mid-Century is in the l)usiness of insurance in the Stat;c of Texss. 'l`hc insurance business
done by Mid-Ccntury in ’fexss includes, butts not limited to, the following
l Thc making and issuing of contracts of insurance with the Plsintiffs;

- The taking or receiving of`apptication for insurance, including the Ptaintiffs’
application for insurance;

 

 

Case 5:1 - -
7 cv OOQ?l-DAE Document 1-4 Filed 09/29/17 Page 5 of 18

¢ The receiving or collection of preniiurns, corninissions, membership fees,
assessmentsa dues or other consideration for any insurance or any part thereof,
including any such consideration or payments from the Plaintiffs; end
v The issuance or delivery of contracts of insurance to residents of this state or a
person authorized to do business in this state, including the I’laintiffs.
Defendant Mid-Century Insurance Compauy dib/a Mid~Century Insurance Company
of 'I‘exas may be served at 15?00 Long Vista Drive, Austin, ‘I`exas 78728-3822 by serving their

registered agent, Chandra Sperry, via certified mail, return receipt requested Service is requested

at this time.

JURISDICTI{I)II{I. AND VEN_U_I_!`._

Venue is appropriate in Bexar Connty, Texas because all or part of the conduct giving rise
to the causes of action Were committed in Bexar County, 'l`exas and Plaintiffs and property Wh‘ich
is the subject of this suit are located in Bexar Ccunty, Texas. Accordingly, venue is proper pursuant
to Texas Civii Practice & Rernedies Code §15.002.

lV.
BACKGR()UND FACTS

Plaintiffs are the owner of an Insuranoe Poiicy (hereinatter referred to as "the Policy").
Plaintlffs own the insured properties, Which are located at 5231 Bianco Rcad, San Antonio, Texas
78216, 5211 Blanco Road, San Antonio, Texas 78216, and 119 Dresden Drive, San Antooio, Texas
78213 (hereinafter referred to as "the Properties“). Mid»Century sold the Policy insuring the
Propeities to Plaintiffs,

During the terms of said Policy, Piaintiffs sustained covered losses when a wind and
`hailstorm damaged the Properties, and Piaintiffs reported same to Mid-Century pursuant to

the terms of the Policy. Piaintiffs asked that Mid~Ccntury cover the cost of repairs to the

 

 

 

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Properties pursuant to the Policy. Mid-Centuiy hired an adjuster to adjust the claim and investigate
the damages To date, Mid-Century and its adjuster have completely mishandled Plaintift`s’ claims
and caused Plaintiffs further and additional damagesl Mid~Century and its adjuster failed to
conduct a fuli, fair, prompt and reasonable investigation of Plaintit`t`s’ covered damages As
described in more detail below, Mid-Century and its adjuster conducted an outcome~oriented
investigation and under-scoped Plaintit`fs’ damages in order to avoid full payment on the claiin.

Further, iviid-Centuiy and its adjuster made material misrepresentations about Policy
provisions, coverage and the law in Texas applying thereto Mid~Century, its adjuster and their
agents have kept and have in their possession a claims tile which details the Plaintiffs’ claims and
their investigation, adjustment and subsequent denial of full payment on the claim.

Mid-Century Wrongfully denied Plaintiffs’ claim for full and complete repairs to the
Properties even though the Policy provided coverage for losses such as those suffered by Plaintiffs.
Furthermore, Mid-Century failed to fully pay Plaintiffs’ claims by not providing full coverage for
the damages sustained by Plaintiffs and engaged its agents to misrepresent Policy provisions and
coveragel To date, Mid~Century continues to delay in the payment for the damages to the
Properties.

V.
CAUSES OF ACTION AGAINST MIB_CENTURY

A. BREACH OF CONTRACT

Plaintit`fs re~allege the foregoing paragraphs Mid-Centuty and its agents’ conduct
constitutes a breach of the insurance contract between it and Plaintiit`s. l\/Iid~Century’s failure
and/or refusal, as described above, to pay Plaintiffs adequate compensation as it is obligated to do
under the terms of the Policy in question, and under the laws of the State of Texas, constitutes a

breach ot` the insurance contract with Plaintiffs.

 

 

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Mid»~Century failed to perform its contractual duty to adequately compensate Plaintiffs
under the terms of their Policy. Specitically, Mid-Century refused to pay the full proceeds of the
Policy after delaying and conducting an outcome-oriented investigation although due demand was

made for proceeds to be paid in an amount sufficient tc cover the damaged properties, and all

. conditions precedent to recovery under the Policy have been carried out and accomplished by

Plaintiffs. Mid~_()entury’ conduct constitutes a breach cf the insurance contract between it and
Plaintifl"s.
B. NONC(`)MPLIANCE WITH TEXAS lNSURANCE CODE
1. UNFAIR SETTLEMENT PRACTICES
Plaintii`fs ate-allege the foregoing paragraphs 'l`exas law is clear that insurance companies
and anyone engaged in the business of insurance by investigating and adjusting a claim must
conduct a reasonable, full and fair claim investigation Mid-Century and its adjuster violated
Chapter 541 of the Texas insurance Ccde, in one or more of the following particulars'.
§ 541.051. Misrepresentation regarding Polieies.
¢ M.alcing, issuing, circulating, or causing to be made, issued or
circulated a statement misrepresenting the terms of a pclicy; and
v Making, issuing, circuiating, or causing to be made, issued or
circulated a statement misrepresenting the benefits of a policy.
§ 541.060. Unfair Settlement Practices.
lnsurance Code chapter 541, section 541.060 by, among other things:
» misrepresenting one or more material facts and/or policy provisions relating
to coverage;
v making misrepresentations of law;
¢ failing to attempt in good faith to effectuate a prompt, fair, and equitable

settlement cf a claim with respect to which their liability has become
reasonably ciear;

 

 

 

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a failing to attempt in good faith to effectuate a prompt, fair, and equitable
settlement of a claim under one portion of a'policy with respect to Which
liability has become reasonably clear in order to influence Piaintiffs to settle
its claim with respect to another portion of the poliey;

v failing to promptly provide a reasonable explanation of the basis in law or
fact for the denial of Plaintiffs’ ciaims;

» refusing to affirm or deny coverage within a reasonable time;

~ refusing to conduct a reasonable investigation;

¢~ ignoring damage known to be covered by the Policy; and/or

v conducting an outcome»oriented investigation in order to provide a basis to
underpay/deny the ciaim.

§ 541.061. Misrepresentation of Insuranee Polioy.
¢ Mai<ing an untrue statement of material 'l"act;
- F ailing to state a material fact necessary to make other statements
made not misleading;
~ Making a misleading statement; and
v Faiiing to disclose amaterial matter of law.

2. ']_‘HE PROIVH’T PAYMENT OF CLAIMS

Plaintiffs re-ai|ege the foregoing paragraphs Mid»Century’s conduct constitutes multiple
violations of tire Texas Insorance Code, Prompt Payment of Ciairns. All violations made under
this article are made actionable by TEX, iNS. C()DE §542.060.

Mid`-Century failed to meet its obligations under the Texas lnsurance Code regarding
timely acknowledging Plaintiffs’ olaims, beginning an investigation of Piaintiffs` claims, and
requesting all information reasonably necessary to investigate Plaintiffs’ claims Within the
statutorily mandated time of receiving notice of Piaintiffs’ claims Its conduct constitutes a
violation of the Texas insurance Code, Prompt Payrnent of Ciaims. TEX. INS. CODE §542.055.

Fuitner, i\/Iid-Century failed to accept or deny Plaintif.fs’ full and entire claims within the
statutoriiy¢mandated time of receiving ali necessary information its conduct constitutes a violation

of the 'i`exas lnsurance Code, Prornpt Payment of Claims. TEX. INS. CODB §542.056.

Mid~Century failed to timely pay Plaintift`s’ claim, and failed to timely pay for all of the

 

 

 

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covered losses TEX. ll\iS. CODE §542.057.

Mid-Century failed to meet its obligations under the Texas insurance Code regarding
payment of claims without delay. Speciiically, it has delayed full-payment of Plaintiffs’ claims
and, to date, Plaintiffs have not received full payment for the covered losses Its conduct constitutes
a violation of the Texas insurance Code, PromptPayrnent of Clairns. TEX. INS. CODE §542.058.

Because ofMici-Centuiy`s Wrongt`ul acts and omissions, Plaintiffs were forced to retain the
professional services of the attorney and law firm who is representing it with respect to these causes
of action.

C. BREACH 0F 'I‘HE DU'I`Y OF GOOD FAITH AND FAIR DEALING

Plaintiffs re»allege the foregoing paragraphs Mid»Century’s conduct constitutes a breach
of the common law duty of good faith and fair dealing owed to the insureds pursuant to insurance
contracts

From and after the time Piaintiffs’ loss was presented to Mid~Century, its liability to pay
the full claims in.accordance with the terms of the Policy were reasonably clear. llowever, it has
refused to pay Plaintiffs in full, despite there being no basis whatsoever upon which a reasonable
insurance company would have relied to deny the full payment Mid-Century’s conduct constitutes
a breach oftbe common law duty cf good faith and fair dealing

Further, Mid-Century’s failure, as described above, to adequately and reasonably
investigate and evaluate Plaintiffs’ clairns, althougli, at that time, it knew or should have known
by the exercise of reasonable diligence that its liability was reasonably clean constitutes a breach
ofthe duty of good faith and fair dealing.

VI.

Each ofthe acts described above, together and singulariy, were done “knowir_igly“ by Mid#

 

 

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Century and its adjuster as that term is used in the Teztas Insurance Code and were a producing

cause ofl’laintifl`s’ damages described hetein,

VII.
})AMAGES

Plaintift`s would show that all of the aforementioned acts, taken together or singularly,
constitute the proximate and producing causes of the damages sustained by Plaintift`s.

As previously?mentioncd, the damages caused by the covered losses have not been properly
addressed, even though Plaintift`s have mitigated1 causing further damage to the property and
causing undue hardship and burden to Piaintit`fs. These damages are a direct result of Mid»
Century’s mishandling of Plaintiffs’ claims in violation ofthe laws set forth above

For breach of contract, Plaintiffs are entitled to regain the benefit of the bargain, Which is

the amount of the claims, together with attorney’s fees

For noncompliance with the ’l`exas lnsurance Code, Unfair Settlement Practices, l’laintifl‘"s

-are entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the Policy, court costs, consequential damages not covered by Plaintiffs' Policy and
attorney's fees. For knowing conduct of the acts described above, Plaintii`fs asks for three times
the actual damages TEX. lNS. CODE §541.152.

For noncompliance with the 'l`exas Insurance Code, Prornpt Paymcnt of Clairns, Plaintiffs
are entitled to the amount of the ciairns, as well as eighteen (18] percent interest per annum on the
amount of such claim as damages, together with attorney‘s fees. TEX. lNS. CODE §542.060.

For breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled to
compensatory damages, including all forms of loss resulting from the insurers breach of duty, such

as additional costs, economic hardship, losses due to nonpayment of the amount the insurer owed,

and exemplary damages

 

 

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For the prosecution and collection of this claim, Plaintit`fs have been compelled to engage
the services of the attorney Whose name is subscribed to this pleading. Therefore, Plaintiffs are
entitled to recover a sum for the reasonable and necessary services of Plaintiffs’ attorney in the
preparation and trial ot` this action, including any appeals to the Couit of Appeais and/or the
Suprerne Court cf Texas.

VHI.

In addition, as to any exclusion, ccndition, or defense pled by Mid-Centniy, Plaintiffs
Would show that: n

'l`he clear and unambiguous language of the policy provides coverage for damage to the
property caused by iosses made the basis of Fiaintiffs’ claims, including the cost of access to fix
the damages;

In the alternative, any other construction of the language of the policy is void as against
public policy;

Any other construction and its use by the Det`endant violates the 'l`exas lnsurance Code
section 541 et. seq. and is void as against pubiic policy;

Any other construction is otherwise void as against public policy, illegal, and violates state
law and administrative rule and regulation

In the alternative should the Court find any ambiguity in the poiicy, the rules of
construction of such policies mandate the construction and interpretation urged by Plaintiffs;

In the alternative, Mid~Century is judicially, administratively, or equitably estopped from
denying Piaintit`fs‘ construction of the policy coverage at issue;
la the alternative, to the extent that the Wording of such policy does not reflect the true

intent of all parties thereto, Piaintift`s plead the doctrine of mutual mistake requiring information

 

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IX.
REQUEST FOR DISCLOSURES

Pursuant to tlie__’l`exas Rulcs of Civil Procedure l94, Plaintift`s request that Mid-Century

provide the information required in a Request for Disclosure.

X.
}S‘IRST REQUEST FOR I’RO])UC'I`ION TO MlD-CENTURY

l) Produce the non-privileged portion ot` Mid~Century‘s complete claims files for

Plaintiffs’ Propertics relating to or arising out of any damages caused by the losses
determined by Defendant’s expert and Plaintiffs’ for Which Mid-Century opened
claims under the Policy.

 

2) Produce all entails and other forms of communication between Mid-»Century, its `agcnts,

adjusters, employecs, or representatives and the adjuster, and/or his!her agents,
adjusters, representatives or employees relating to, mentioning, concerning or
t evidencing the Plaintift`s’ Property Which is the subject of this suit.

XI.

Wi-IEREFORE, PREMISES CONSIDERED, Plaintiffs request that h/lid»Century he cited
to appear and answer herein; that, on final hearing, Plaintiffs has judgment against l\/Iid-Century
for an alnount, deemed to bejust and fair by the jury, Which will be a sum Within the jurisdictional
limits of this Court. FOR ‘THE C()URT: Plaint`n‘its are forced to state a range amount of damages

sought although Plaintiffs believe that the amount cf damages is solely for the jury to

 

l ' determine However, because Plaintift`s must state a range of damages, Plaintif£s plead that the
1 damages are more than $1,000,000. Plaintiffs further plead for costs cf suit; for interest on the
judgment for pre-judgment interest; and, for such other and further reliet`, in law or in equity,
either general or special, including the ncn~monetary relief of declaratory judgment against Mid»

Century, to which Plaintiffs may be justly entitled.

 

 

 

 

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Respeett`ully submitted,

THE LOYD LAW FIRM, P.L.L.C.

12?03 Spectrum Drive, Suite 201

San Antonio, 'l`exas 78249

'l`eiephone: (210) 775-1424

Facsimile: (210) 775-1410

Electronic Mail: shannoin“'l_t_j,thclovdlawiirm.coin

`W e?\

 

BY:
SHANNON E. LOYI)
State Bar No. 240457 06
ATTORNEY FOR PLAINTIFFS

PLAINTIIPFS REQUEST A TRIAL BY .]URY

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communism § '
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CLA]M LIT£GAT!ON § CIVIL JUDIC!AL DiSTRICT CGURTS

STANDING PRETRIAL ORDER CONCERN!NG
_BEXAR CGUNTY CUMMERCIAL H‘ML CLA]MS

Ti\is order applies to pretrial matters in commercial property insurance cases filed in the Disfriot donna ol’
Bexar Connty, To)cas that involve insurance disputes arising nom the hall storms occurring in Beaar
Counly in Aprll and May of 20| 6. Ths purpose oFthis order is to expedite pretrial msiters, discovery and

v

mediation m outer to minimize court costs and litigation expenses

'l`his order shall be posted so the Bexar County Disniiot Clerk website and shall he attached to tire
Orlgiuai'Potitlon of applicable oases. Ail attorneys and parties should endeavor to entity others about this
orders .

Paitiee seeking to be excused nom any part of this order must set a hearing and request relief item the

GOlll'i'¢

' AUTOMATXC ABATEMENT ~ Thc filing of an original answer try the commercial insurance carrier

shall trigger an immediate and automatic abatement Tiie case shall remain abated until 30 days alter a
mediation impasse \

Tiio abatement period will apply to ali court ordered deadlines and little 190 diseovery deadlines The
abatement period will not appiy to the deadlines in this order or 'to any statutory deadline interest or
penalties that may apply under any statutory code or law. The'partias may send written discovery during
tile abatement time psriod, howevsr, the tesponses and objectii:ns to those discovery requests will not he
due until 30 days after the end ofilte abatement period. ' ' v

MED]ATION »l~ Tl\e plastics shall agree to a mediator and to a medit{tion data nn Agreed Medistion
Grdsr, in the foam attached shall be filed with the eourt within 120 days after the answer is tiled.
_ . , l

Wlthin is days of an unsuccessful mediation the parties witt submit a prouosed Agroed Sehoduliug
Ordor to the court ` j l

DISCOVERY ~» Within 120 days ot` the filing of an answtir by the commercial insurance carries the
parties will use their best efforts to exchange information and documentation pertaining to the commercial
propony, including the following expert reports engineering rep¢.uts1 estimates of dosage or repairs
contents lists for contents damage eleini(s); photographs renal receipts or invoices; tile non-privileged
portions or the communist insurance carrier and adjusting eo pany's claims tile (lnoluoing all claim

"¢lim~y notss, activity logs, loss notes and small correspondence regarding lite insurance laim); payment

ledger. payment los andror prool’ of eminent nom the insurance carries a copy ortho ins nance policy in
effect at the time otlhe respestive storm olsim(s}; and the non-privileged portions of the underwriting
tile If’ lite insurance carrier is not in assistsan ofthe adjusting eompsny's!ucliuster’s claims lile. and tire
adjusting company/adjuster le not named as a party in the lawsuit and represented by separate eounsei,
then the lnsuranee barrier shall seek the adjusting company*s claims tile and use their best efforts to
exchange this information within the 120 day time period Th¢ insurance carrier is also ordered to notify

tsssl_

 

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the independent adjusting company that all emalls, activity notes and loss diary notes pertaining to tire
hall storm claim in litigation shall be preserved end not destroyed Flnally, a privilege log will also be
produced in accordance with the Texas Rulea of Clvll procedure for any reductions or privileges asserted
Within tSl) days ofthe filing of an answer by the commercial insurance carrier, the parties will use their
heat efforts to exchange accounting and financial documentation and other information pertaining to any
claims l"or business interruptiou, loss of business incomo, lost prolits, inventory or food loss (provlde list
with valocs), lost business expense accounts receivable and any other business loss olaim.

’\~

hay expert reporta, engineering reports, contractor estimates or any other estimates of damages or repairs
obtained pursuant to this order for settlement demand, or mediation purposes ann exchanged prior to
mediation shall be for mediation purposes only and shall be considered confidential except that any
estimates earlier reports that are part of the claims ilte, which.were obtained cr prepared during the claims
mountingl shall not he considered confidential under this paragraph llowevcr, it a consultant whose
report is produced for mediation, is designated as a retained testleing expert and does not produce a
subsequent report for use at trini, the mediation report shall not remain ooniidentlai,

Confidentlal reports and estimates arc only confidential fertile lawsuit in which they are being ueed.

'Confldonilal expert reports designated for mediation purposes shall be returned to the providing party

within 14 days of o written request Such reports shell not he discoverable or admissible at trial or any
hearing. lt` the party procuring the report designates the expert to testify such party shall have the right to
prevent discovery or testimony by the expert regarding the mediation report and any opinions therein,
provided that a subsequent report is produced 'l`lte procuring party may usa data such as measurements
and photographs without waiving this privilege limiting herein shall prohibit the use oi` those reports

and estimates in any subsequent insurance claims or lawsuits involving the same commercial
insurance carrier.

Once a mediation date and mediator are agreed to by ali parties, the commercial insurance carrier
shall be permitted to inspect the property involved in the lawsuit (as soon as practicable) prior to
mediationt lt` mediation is unsuccessful, the commercial insurance oarrier and other defendants may
re»inspect the property with the samo, now or additional experts pursuant to the Texas Rulos of Clvil
Procedure.

Slgned on Novcmber 30, 2016

Michael Mery, lodge z
31“' piston conn

    

   

tephani aish, lodge
45"' production

 

 

Antonia Arto'§ga, lodge " David A. Cannies, Judge
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G!oria Salda§a, Judge
438“‘ Distnct Court

 

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AGREED MED]A'I`ION ORDER

Pursuant io_ the Stnnding Proti'iul Order Conoeming Boxar County Commoroial Haii Claims, the
parties agree to the fol!owing mediation date and mediation

Dnte:

 

Modiator:

 

’I`ho conrt, heroby, approves and orders the above date and mediator as agreed by the pnrtios.
Enoh side shall pay an equal portion of the mediation feet
AI| parties must have in attendance a representative with full authority to enter into a final settlement
ogreement, The following shall be personally in attendance at tito mediation until excused by\tho
mediation

l. An attorney of record for each party_, unless the party is self-represented

2. Ail individual parties, either plaintiff or defendant, except thnt individual defendant

adjusters and insurer employee defendants are not ordered to attend so long as a
representative with foti authority to negotiate and settle on their behalf is present

 

 

3. A representative oi` eaélt non~individual party, unless the parties agree otherwise in
writing.
Signcd and entered on ' , 2016.
Judgo Prosiding

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